

People v Rosario (2024 NY Slip Op 02375)





People v Rosario


2024 NY Slip Op 02375


Decided on May 02, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 02, 2024

Before: Manzanet-Daniels, J.P., Kern, Friedman, Rosado, O'Neill Levy, JJ. 


SCI No. 4633/09 Appeal No. 2168 Case No. 2018-03184 

[*1]The People of the State of New York, Respondent,
vHiram Rosario, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Aviva Galpert of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about April 19, 2018, which denied in part defendant's Correction Law § 168-o(2) petition to modify his sex offender classification, unanimously affirmed, without costs.
The court providently exercised its discretion in modifying defendant's risk level three classification to level two but denying a further modification to level one. The mitigating factors cited by defendant, when viewed in light of the aggravating factors, including the seriousness of defendant's underlying offenses against two young relatives, warrants only a modification to a risk level two adjudication (see People v Johnson, 124 AD3d 495, 496 [1st Dept 2015]).
Although defendant challenges the adequacy of the court's findings, remand is unnecessary because the record is sufficient for this Court to make its own findings (see People v Lewis, 143 AD3d 604, 605 [1st Dept 2016], lv denied 28 NY3d 916 [2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 2, 2024








